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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARIE LAMB,                                       :
         Plaintiff,                               :
                                                  :                  CIVIL ACTION
       v.                                         :                  NO. 21-638
                                                  :
CVS HEALTH,                                       :
          Defendant.                              :

                                             ORDER

       AND NOW, this 15th day of October, 2021, upon consideration of Defendant’s Partial

Motion to Dismiss (ECF No. 10), it is hereby ORDERED that said Motion is GRANTED.

Accordingly, counts III and IV of Plaintiff’s Amended Complaint are DISMISSED. Should

Plaintiff wish to do so, she shall have thirty (30) days from the date of this Order to file a Second

Amended Complaint.




                                                              BY THE COURT:



                                                              /s/ C. Darnell Jones, II
                                                              C. DARNELL JONES, II J.
